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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF WYOMING

  Gramercy Distressed Opportunity Fund II, L.P.,           )
  Gramercy Distressed Opportunity Fund III, L.P.,          )
  Gramercy Distressed Opportunity Fund III-A,              )
  L.P., Gramercy Funds Management LLC,                     )
  Gramercy EM Credit Total Return Fund, and                )   Civil Action No. 21-CV-223-F
  Roehampton Partners LLC,                                 )
                                                           )
                   Plaintiffs,                             )
                                                           )
           v.                                              )
                                                           )
  Oleg Bakhmatyuk, Nicholas Piazza, SP Capital             )
  Management, LLC, Oleksandr Yaremenko, and                )
  TNA Corporate Solutions, LLC,                            )
                                                           )
                   Defendants.                             )

MEMORANDUM IN SUPPORT OF DEFENDANTS’ EXPEDITED MOTION TO STAY

                                                BACKGROUND

        In this case, the Defendants appealed the Court’s orders denying their motions to stay or

dismiss the lawsuit and compel arbitration. [ECF Nos. 85, 88]. In response, this Court sua
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sponte ordered that the case be “stayed pending the conclusion of the interlocutory appeals.”

[ECF No. 101] at 1. Several months later, the Tenth Circuit issued an order dismissing the

consolidated appeal for lack of appellate jurisdiction. [ECF No. 106] at 8.

        The Defendants filed a petition for rehearing en banc, arguing that the Tenth Circuit’s

order was inconsistent with Supreme Court precedent, Tenth Circuit precedent, and the

authoritative decisions of other courts. Ex. A at 1–3 (May 24, 2023 Appellants’ Petition for

Rehearing En Banc). The Tenth Circuit ordered the Plaintiffs “to file a response to the petition

on or before June 9, 2023.” Ex B at 2 (May 26, 2023 Order). The Plaintiffs have not yet filed

that response. Notably, because the Defendants’ petition remains pending, the appellate court

has not issued a mandate. See Fed. R. App. P. 41(b) (circuit court mandate must issue “7 days

after entry of an order denying a timely . . . . petition for rehearing en banc . . . .”).

        On June 6, 2023, this Court sua sponte entered an order lifting its earlier stay of the case.

[ECF No. 107] at 1. In that order, the Court stated, “Now that the appeals are concluded, the

reason for the temporary stay no longer exists.” Id. It allowed the Plaintiffs to file an amended

complaint by June 12, 2023, and ordered the Defendants to file an answer to Plaintiffs’

complaint by June 20, 2023. Id.

                                              ARGUMENT

        This Court should stay the litigation until the Tenth Circuit issues its mandate in the

consolidated appeal.

        As this Court recognized in its original order staying the case, when a party files an

interlocutory appeal from the denial of a motion to compel arbitration, “the district court is

divested of jurisdiction until the appeal is resolved on the merits.” McCauley v. Hallburton

Energy Servs., 413 F.3d 1158, 1160 (10th Cir. 2005). Critically for purposes of this motion,


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jurisdiction is not returned to the district court until the Tenth Circuit issues a mandate. In re

Sunset Sales, Inc., 195 F.3d 568, 571 (10th Cir. 1999) (“‘Issuance of the mandate formally marks

the end of appellate jurisdiction. Jurisdiction returns to the tribunal to which the mandate is

directed, for such proceedings as may be appropriate . . . .’”) (quoting Johnson v. Bechtel Assocs.

Professional Corp., 801 F.2d 412, 415 (D.C. Cir. 1986)); Burton v. Johnson, 975 F.2d 690, 693

(10th Cir. 1992) (“Once we affirmed the District Court on appeal and returned the mandate,

however, the District Court reacquired jurisdiction over the case”). In this case, the Tenth

Circuit has not issued a mandate in the consolidated appeal. See Fed. R. App. P. 41 (mandate

must issue 7 days “after entry of an order denying a timely . . . petition for rehearing en banc . . .

.”). As a result, this Court does not yet have jurisdiction and the case may not proceed.

        In addition, there is good reason and good cause to issue a stay. Having the parties

litigate the same subject matter in the trial court and the appellate court simultaneously not only

lacks a jurisdictional basis, but it would also run the risk of wasting resources and subjecting the

parties to inconsistent orders. If the Tenth Circuit grants the petition for rehearing en banc, the

appellate court’s judgment is vacated and the mandate is stayed. 10th Cir. R. 35.6. It is

substantially less burdensome—both for this Court and for the parties—to stay the case until the

Tenth Circuit rules on the petition.

                                            CONCLUSION

        The Court should stay this litigation until the Tenth Circuit issues a mandate and returns

jurisdiction to this Court.




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Dated this 9th day of June, 2023.

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                                  CERTIFICATE OF SERVICE
        I hereby certify that on the 9th day of June, 2023, I electronically transmitted the

foregoing document to the Clerk of Court of the U.S. District Court, District of Wyoming, using

the CM/ECF system for filing. Based on the records currently on file the Clerk of Court will

transmit a Notice of Electronic Filing to all registered counsel of record.


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